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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
In re:                                                          ) Chapter 11
                                                                )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                            ) Case No. 19-34054 (SGJ)
                                                                )
                                   Reorganized Debtor.          )
                                                                )

                                      CERTIFICATE OF SERVICE

      I, Patrick Leathem, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On January 19, 2024, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:

•        Highland Capital Management L.P.'s Reply in Further Support of its Motion for
         (A) Bad Faith Finding and (B) Attorneys' Fees Against NexPoint Real Estate
         Partners LLC (f/k/a HCRE Partners, LLC) in Connection with Proof of Claim 146
         [Docket No. 4018]

Dated: January 26, 2024
                                                               /s/ Patrick Leathem
                                                               Patrick Leathem
                                                               KCC
                                                               222 N Pacífic Coast Highway, Suite 300
                                                               El Segundo, CA 90245




1
 The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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